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VIA UPLOAD

Hon. Jeremiah J. McCarthy
U.S. District Court

Western District of New York
2 Niagara Square

Buffalo, NY 14202

Re: Henley v. City of Buffalo, et al.
Docket No.: 1:22-cvy-00065-LJV-JJM

Dear Judge McCarthy:

In advance of the court conference, we are still awaiting paper discovery documents from
the City of Buffalo as follows:

On October 19. 2022 we requested the name and, if known. the address and telephone
number of each individual likely to have discoverable information--along with the subjects of
that information as follows:

PO Karl B. Schultz:

PO Alyssa Peron;

Det. Nicholas Millitello;
PO Jose Cortez;

PO Nora Bartosik;

PO Alexander Brennan:
Det. Adam Stephany:
Det. Erin McCarthy:

PO Joseph Petronella:
10. Det. David Stabler;

11. Det. Anthony LaPalina;
12. Det. Timothy Rooney;
13. Sr. Det. William Cooley;
14, PO Maurice Foster:

15. Representative of Police Department with knowledge of manuals and forms:

16. The individual or individuals who decided to allow Schultz to remain on the force and
decided to have Schultz train new officers;

17. 911 Caller, Jaime C. Gallagher, Esq., at NYS ACB;

18. The operator of Harbor House on Genesee St., Nancy Singh;

19. The waitress at the restaurant Café Azul on Genesee St;

20. Employees and customers of Eddy Brady’s on Genesee St.;

$2 180. STON Be GF

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21. The medical providers at ECMC;

22. We do not yet have the records from the care rendered since the plaintiff was placed
into custody but have requested them. These may contain the names of other
witnesses.; and

23. In total, upon information and belief, there were 53 police officers and other staff who
responded to the shooting. They are all not named here but are in the knowledge of
the defendant City.

We also demanded the following on February 27, 2023, which was not responded to:
1. All reports and correspondence regarding weapons and/or tactics used and/or

deployed by the City of Buffalo Police department and their employees on September 12, 2020
involved in and prior to Mr. Willie Henley’s arrest:

Zi All reports, whether documentation of an oral report to supervisor and physical
reports of discharge of the firearm;

3. Then current directives regarding reporting of discharge of firearms and/or use of
force from 1/1/2012 to 1/1/2022;

4. All disciplinary complaints against Alyssa Peron.

5. All disciplinary complaints against Karl Schultz.

6. All sections of the Buffalo Police Rules & Regulations in effect in 2020 as
follows:

-1.1 Obedience to Laws

-2.1 General Duties

-2.2 Respond when directed

-2.4 Attention to duty

-2.7 Acting request regardless of assignment
-2.8 Seeking information regarding duties
-2.12 Attitude and Impartiality

-2.14 Assistance to fellow employees

-2.15 Assistance to Citizens

-2.17 Medical Attention for IL/Sick Persons
-3.1 Responsibility

-3.2 Conduct

-3.5 Truthfulness

-3.6 unnecessary force

-3.7 Discussing evidence

-3.9 Information where city Is interested party
-3.10 Speeches, statements, etc.

-3.13 Testimony

-3.27 Use of force

-3.28 Firearms and ammunition

-4.11 Civil Cases
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-5.1 Use and Responsibility

-5.2 Reporting Loss or Damage

-5.3 Qualifications

-5.6 Unauthorized communication devices

-6.1 Altering, delaying, removing or falsifying reports
-6.3 Departmental Business, Timeline of reports

-6.11 Civil Suits, Claims for loss or personal injury
-7.3 Duty to investigate and report Misconduct

-7.4 Exemplary Conduct Expected

-7.5 Duty to discover

qi All communication to or from police and/or court and/or district attorney and/or
representatives of same regarding WILLIE N. HENLEY from January 1, 2018 to March 14,
2022:

8. All communication between the Buffalo Police Department and Thomas Burton,
Esq., and/or the union, or employees of from January/01/2019 to March 14, 2022 regarding
Willie Henley;

9. Complete employment file for Alyssa Peron;

10. Complete employment file for Karl Schultz;

11. Then current directives regarding the handling of mental health calls;
12. Then current directives regarding the handling of a welfare check:

13. The use of force report for this shooting prepared by Defendant Schultz;

14. The final use of force report for this shooting prepared by Defendant Schultz:

15. All use of force reports for Defendant Schultz from the time of hire to this shooting
prepared by Defendant Schultz;

16. All final use of force reports for Defendant Schultz from the time of hire to this
shooting prepared by Defendant Schultz:

17. Form P-1261 for this incident;

18. The Firearms Use Report (BPD I) for this incident:

19. All photos of the alleged crime scene, location where gun was found, and shooting,
and any other item of evident or location involved in this shooting and the events leading up to
same and following from same:

20. Commanding Officer's Investigation report of this incident;

21. Report of investigation of Homicide Squad in this shooting;

22. All statements taken of the Plaintiff:

23. The code section of the alleged felony or misdemeanor Defendant Schultz reasonably
believed Plaintiff committed to justify the arrest:

24. All reports regarding the transportation of Plaintiff:

25. The intra-departmental memorandum of this shooting;

26. All citations issued to Plaintiff as a result of the subject shooting;

27. All Officer Involved Shooting reports involving Defendant Schultz;

28. All reports of the subject shooting;
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29. All firearms training records relating to Defendant Schultz:

30. All recruit evaluations of Defendant Schultz:

31. All Mental health call training manuals and training records for Defendant Schultz:

32. All police academy records of Defendant Schultz;

33. All notes of the oral interviews and recordings of Defendant Schultz;

34. The psychological screening test results of Defendant Schultz:

35. Any documents relating to the gun the Plaintiff was shot with:

36. The intra-departmental memorandum of this shooting;

37. All P-71 forms completed regarding Willie Henley:

38. All crisis intervention training manuals and/or training guides and/or videos and/or
material given to the buffalo police;

39. All Crisis intervention training records and/or certifications for Defendant Schultz
and Defendant Peron;

40. All unredacted Body Camera footage from all the Buffalo Police Officers who
responded to this incident;

41. All camera footage collected by the Buffalo Police Department from surrounding
buildings of this incident;

42. The complete list of all Officers, Buffalo Police personnel, and all other personnel
who responded to this incident:

43. Complete Evidence Log from the investigation of this incident:

44. All Officer Involved shooting reports from this incident;

45. All Buffalo Police Department Intra-Departmental Correspondence regarding this
incident;

46. All Homicide Squad reports and full instigation file regarding this incident:

47. All Case Detective Reports regarding this incident:

48. All Central Bookings records regarding this incident:

49. Full Crisis Management Team reports and file and forms regarding this incident:

50. a Copy of the Buffalo Police Department rules and regulations/procedures;

51. All 911 call logs and recordings regarding this incident;

52. All radio chatter and correspondence relayed to the Buffalo Police Officers laptops
regarding this incident;

53. The entire Internal Affairs file and reports regarding this incident;

54. All Sworn statements taken and given regarding this incident including but not
limited to Buffalo Police personnel and Witnesses:

55. All Emails to or from Buffalo Police Department personnel regarding this incident;

56. All recordings and reports of all interviews conducted regarding this incident; and
57. All responding Police officers Medical records’ and treatment records’ regarding this
incident.
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We ask that all these demands be responded to.
Very truly yours,
(Jeanne M. Vinal
JMV/gmg
ce. David Lee, Esq. (via e-mail)

Franklin Pratcher, Esq.
Etido Udosoro, Esq.
Nan Haynes

Barbara Henley

Willie Henley
